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 1    By this designation the petitioner and undersigned party(ies) agree that this designation constitutes
 2    agreement and authorization for the designated resident admitted counsel to sign stipulations
 3    binding on all of us.
 4
 5               APPOINTMENT OF DESIGNATED RESIDENT NEVADA COUNSEL
 6
 7           The undersigned party(ies) appoint(s) _____________________________________
                                                    Bradley Schrager                     as
                                                              (name of local counsel)
 8    his/her/their Designated Resident Nevada Counsel in this case.
 9
10                                          ________________________________________________
                                            (party's signature)
11
                                            ________________________________________________
                                             Monica Guardiola, Democratic National Committee
12                                          (type or print party name, title)
13                                          ________________________________________________
                                            (party's signature)
14
15                                          ________________________________________________
                                            (type or print party name, title)
16
17                             CONSENT OF DESIGNEE
             The undersigned hereby consents to serve as associate resident Nevada counsel in this case.
18
19
                                            ________________________________________________
20                                          Designated Resident Nevada Counsel’s signature
21                                           10217                      bschrager@wrslawyers.com
                                            Bar number                  Email address
22
23
      APPROVED:
24
      Dated: this ______        November
                   9th day of ________________,    20
                                                20___.
25
26    ____________________________________________
      UNITED STATES DISTRICT JUDGE
27
28                                                     55                                          Rev. 5/16
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 8    his/her/their Designated Resident Nevada Counsel in this case.
 9
10                                          ________________________________________________
                                            (party's signature)
11
                                            ________________________________________________
                                             Shelby, Wiltz, Nevada State Democratic Party
12                                          (type or print party name, title)
13                                          ________________________________________________
                                            (party's signature)
14
15                                          ________________________________________________
                                            (type or print party name, title)
16
17                             CONSENT OF DESIGNEE
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22
23
      APPROVED:
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      Dated: this ______ day of ________________, 20___.
25
26    ____________________________________________
      UNITED STATES DISTRICT JUDGE
27
28                                                     55                                          Rev. 5/16
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